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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_______________________________________

PAUL THOMAS,

                                    Plaintiff,
      v.                                                   Civil Action No. ___________

ATLANTIC RECOVERY SOLUTIONS, LLC

                              Defendant.
________________________________________


                    COMPLAINT AND DEMAND FOR JURY TRIAL

                                    I. INTRODUCTION

   1. This is an action for actual and statutory damages brought in response to Defendant’s
      violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter
      "FDCPA") which prohibits debt collectors from engaging in abusive, deceptive, and
      unfair practices; and Defendant’s violations of the Telephone Consumer Protection Act
      of 1991 (hereinafter referred to as the “TCPA”).


                                 II. JURISDICTION AND VENUE

   2. Jurisdiction of this court arises under 15 U.S.C. §1692k(d), 28 U.S.C. § 1331 and 28
      U.S.C. § 1337.

   3. That Plaintiffs’ cause of action under the TCPA is predicated upon the same facts and
      circumstances that give rise to their federal cause of action. As such, this Court has
      supplemental jurisdiction over Plaintiffs’ TCPA causes of action pursuant 28 U.S.C.
      §1367.

   4. Venue is proper in this district under 28 U.S.C. §1391(b) in that the Defendant transacts
      business here and the conduct complained of occurred here.


                                          III. PARTIES

   5. Plaintiff, Paul Thomas is a natural persons residing in the County of Niagara and the
      State of New York and are a “consumer” as that term is defined by 15 U.S.C. §1692a(3).




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6. Defendant Atlantic Recovery Solutions, LLC., (hereinafter “ARS”) is a domestic limited
   liability company organized and existing under the laws of the State of New York and is
   a “debt collector” as that term is defined by 15 U.S.C. §1692a(6).

7. That at all times relevant herein, each Plaintiffs were and are a “person” as defined by 47
   U.S.C.§153(32).

8. That Defendant, at all times relevant herein, owned, operated and/or controlled “customer
   premises equipment” as defined by 47 U.S.C.§153(14), that originated, routed, and/or
   terminated telecommunications.

9. That at all times relevant herein, Defendant has used the United States mail service,
   telephone, telegram and other instrumentalities of interstate and intrastate commerce to
   attempt to collect consumer debt allegedly owed to another.

10. That Defendant, at all times relevant herein, engaged in “interstate communications” as
    that term is defined by 47 U.S.C.§153(22).

11. That Defendant, at all times relevant herein, engaged in “telecommunications” as defined
    by 47 U.S.C.§153(43).

12. That Defendant, at all times relevant herein, used, controlled and/or operated “wire
    communications” as defined by TCPA, 47 U.S.C.§153(52), that existed as
    instrumentalities of interstate and intrastate commerce.

13. That Defendant, at all relevant times herein, used, controlled and/or operated “automatic
    telephone dialing systems” as defined by TCPA, 47 U.S.C.§227(a)(1) and 47 C.F.R.
    64.1200(f)(1).

14. The acts of the Defendant alleged hereinafter were performed by its employees acting
    within the scope of their actual or apparent authority.

15. Defendant regularly attempts to collect debts alleged to be due another.

16. All references to “Defendant” herein shall mean the Defendant or an employee of said
    Defendant.


                           IV. FACTUAL ALLEGATIONS

17. That upon information and belief, Plaintiff does not owe any debt.

18. That upon information a person not known to Plaintiff, owes a debt. This debt will be
    referred to as the “subject debt.”




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19. That the subject debt arose out of a transaction in which money, services or property,
    which was the subject of the transaction, was primarily for personal, family and/or
    household purposes. As such, said debt is a “debt” as that term is defined by 15 U.S.C.
    §1692a(5).

20. That upon information and belief, the Defendant acquired the subject debt.

21. That in or about August 2020, Defendant began calling and text messaging Plaintiff’s
    cellular telephone number multiple times per week, often multiple times per day, in an
    attempt to collect on the subject debt.

22. That during the afore-mentioned time, Defendant made several telephone calls to
    Plaintiffs’ cellular telephone, wherein they left an artificial and/or prerecorded voice
    message requesting return of their telephone.

23. That Defendant made a telephone call to Plaintiff’s sister-in-law, leaving a voice message
    stating the call was for Paul Thomas and was an attempt to collect a debt.

24. That the multiple voice messages to Plaintiff failed to identify Defendant.

25. That many of the prerecorded voice messages state: “This message is solely intended for
    ‘Paul Thomas.’ We have been attempting to reach you in regards to a legally required
    notice placed in our office for you. Please contact us back at your earliest convenience.
    855-319-2711.”

26. That Defendant left multiple voice messages stating the Plaintiff’s file was “placed under
    legal review” and required immediate attention.

27. That the Defendant left other messages stating that that there was a legal matter attached
    to Plaintiff’s social security number.

28. That as a result of Defendant’s acts, Plaintiffs became nervous, upset, anxious, and
    suffered from emotional distress.

                                   V. COUNT ONE
                           (Fair Debt Collection Practices Act
                              and 15 U.S.C. §1692 et seq.)

29. Plaintiffs repeat, re-allege and incorporate by reference the allegations contained in
    paragraphs 1 through 29 above.

30. The conduct of Defendant as described in this complaint violated the Fair Debt
    Collection Practices Act (15 U.S.C. §1692 et seq.) as follows:

       A. Defendant violated 15 U.S.C. §1692d(6) by failing to disclose its identity while
          placing telephone calls and text messages to the Plaintiff.



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       B. Defendant violated 15 U.S.C. §1692e(11) for failing to provide the Mini Miranda
          warning in telephone calls and text messages to the Plaintiff.

       C. Defendant violated 15 U.S.C. §1692e, 15 U.S.C. §1692e(2), 15 U.S.C. §1692e(5),
          15 U.S.C. §1692e(10), and 15 U.S.C. §1692f by stating the file was under “legal
          review” and required “immediate attention.” as well as stating that there was a
          legal matter attached to Plaintiff’s social security number.

       D. Defendant violated 15 U.S.C. §1692b(2) for placing a telephone call and leaving a
          voice message to Plaintiff’s sister-in-law stating the call was for Paul Thomas and
          disclosing it was an attempt to collect a debt.

31. That as a result of the Defendant’s FDCPA violations as alleged herein, Plaintiffs became
    nervous, upset, anxious and suffered from emotional distress.


                                  VI. COUNT TWO
                      (Telephone Consumer Protection Act of 1991
                             and 47 C.F.R.64.1200, et seq.)

32. Plaintiff repeat, reallege and incorporate by reference the preceding and succeeding
    paragraphs in this complaint as if each of them was reprinted herein below.

33. The Defendant at all times material and relevant hereto, unfairly, unlawfully,
    intentionally, deceptively and/or fraudulently violated the TCPA, 47 U.S.C.§227, et seq.
    and 47 C.F.R.14.1200, et seq. and TCPA, 47 U.S.C.§227(b)(1)(A)(iii) by initiating
    telephone calls to Plaintiff’s telephone service and/or using an artificial and/or
    prerecorded voice to deliver messages without having the consent of Plaintiff to leave
    such messages.

34. The acts and/or omissions of the Defendant at all times material and relevant hereto, as
    described in this Complaint, were done unfairly, unlawfully, intentionally, deceptively
    and fraudulently and absent bona fide error, lawful right, legal defense, legal justification
    or legal excuse.

35. The acts and/or omissions of the Defendant at all times material and relevant hereto, as
    described in this Complaint, were not acted or omitted pursuant to 47
    C.F.R.§64.1200(f)(2).

36. As a causally-direct and legally proximate result of the above violations of the TCPA, the
    Defendant at all times material and relevant hereto, as described in this Complaint,
    caused the Plaintiff to sustain damages as a result of their innumerable telephone calls
    that harassed, annoyed and abused Plaintiff, and disturbed her peace and tranquility at
    home and elsewhere.




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   37. As a causally-direct and legally proximate result of the above violations of the TCPA, the
       Defendant at all times material and relevant hereto, as described in this Complaint,
       caused the Plaintiff to sustain damages and experience emotional distress.

   38. As a causally-direct and legally proximate result of the above violations of the TCPA, the
       Defendant at all times material and relevant hereto, as described in this Complaint, is
       liable to actual damages, statutory damages, treble damages, and costs and attorney’s
       fees.

   39. Plaintiff received multiple telephone calls from an automatic telephone dialing system
       and/or an artificial and/or prerecorded voice entitling Plaintiff to Five Hundred Dollars
       and No Cents ($500.00) for each artificial and/or prerecorded telephone call pursuant to
       the TCPA, 47 U.S.C.§227(b)(3)(B).

   40. The Defendant caused said telephone calls of an artificial and/or prerecorded nature to be
       placed willfully and/or knowingly entitling each Plaintiff to a maximum of treble
       damages, pursuant to TCPA, 47 U.S.C.§227(b)(3).

WHEREFORE, Plaintiff respectfully requests that judgment be entered against the Defendants
for:

       (a) Actual damages;

       (b) Statutory damages pursuant to 15 U.S.C. §1692k and 47 U.S.C.§223(b)(3)(B).

       (c) Treble statutory damages pursuant to 47 U.S.C. §227b(3).

       (d) Costs, disbursements and reasonable attorney's fees pursuant to 15 U.S.C. § 1692k.

           And for such other and further relief as may be just and proper.

                                     VI. JURY DEMAND

              Please take notice that Plaintiff demands trial by jury in this action.

Dated: July 27 2021


                                                              /s/ Seth J. Andrews_____________
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